     Case: 1:21-cv-00998 Document #: 114 Filed: 10/14/22 Page 1 of 6 PageID #:1120




                      UNITED STATES DISTRICT COURT
                  IN THE NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

MICHAEL COZZI, et al.                   )
                                        )
Plaintiffs,                             )
                                        )
v.                                      )       Case No. 21 CV 00998
                                        )
VILLAGE OF MELROSE PARK,                )
et al.,                                 )
                                        )
Defendants.                             )


           STATEMENT WITH RESPECT TO DISPOSITIVE MOTIONS
                      PURSUANT TO DKT NO. 113

        NOW COMES the Defendants, the VILLAGE OF MELROSE PARK and

Mayor RONALD SERPICO by and through their attorney Cynthia S. Grandfield of

Del Galdo Law Group, LLC and as their statement provides:

     1. The Second Amended Complaint currently has the following counts

remaining: (a) §1983 Class of One Equal Protection (Count I); (b) §1983 First

Amendment Retaliation Claim (Count III); (c) §1983 “Policy” Claim [construed as a

Monell claim] (Count IV); (d) Administrative Review Act claim (Count V).

     2. The Defendants intend to file for summary judgment on all counts for several

reasons.

     3. First, with respect to the Equal Protection Class-of-One Claim, defendants

believe the evidence adduced during discovery has demonstrated that the Plaintiffs

will be unable to demonstrate that they had been intentionally treated differently

from others similarly situated or that there is no rational basis for the difference in


                                            1
   Case: 1:21-cv-00998 Document #: 114 Filed: 10/14/22 Page 2 of 6 PageID #:1121




treatment. Fares Pawn, LLC v. Ind. Dep’tof Fin. Insts., 755 F.3d 839, 845 (7th Cir.

2014)(must be lack of rational bais); Black Earth Meat Market, LLC v Vill. of Black

Earth, 834 F.3d 841, 851-852 (7th Cir. 2016)(holding that a restaurant/bar was not

responsible for similar externalities, and had not been the subject of neighbors’

complaints); McDonald v. Winnetka, 371 F.3d 992, 1009 (7th Cir. 2004)(comparator

important to make sure to avoid distortion of the scope of protection in ‘class of one’

equal protection claims). This includes but is not limited to the evidence adduced

was that: the Village only cited Plaintiffs after receiving complaints and asking

them to comply; the daily tickets are a common practice in the Village (as well as

other municipalities) to encourage compliance; the Plaintiffs were unable to identify

similar comparators that were also the subject of complaints that were treated in

differently; the Code Enforcement Director, the Inspectors, and the Village’s

Hearing Officer all offered testimony as to why they believe the condition of the

property was in violation of Village Code; they further all testified that had the

Plaintiffs complied or showed up at a hearing and advised they intended to comply

that the Village would have dismissed all tickets. Additionally, the Village’s

Hearing Officer is a licensed attorney and hearing officer under state law who is an

independent contractor with the Village and is not subject to the mayor’s

supervision or permission with respect to his rulings and handling of Village

citations.

       2.    Second, with respect to the First Amendment Retaliation Claim,

evidence adduced during discovery establishes that Michael Cozzi did not engage in



                                           2
  Case: 1:21-cv-00998 Document #: 114 Filed: 10/14/22 Page 3 of 6 PageID #:1122




any protected speech under the First Amendment that could provide a causal link

sufficient to survive summary judgment. Further, neither Angeline nor Vincent

Cozzi engaged in any speech at all pursuant to the First Amendment, and they were

the undisputed owners of the property. Further, even if Michael Cozzi was able to

sufficiently establish First Amendment protected activity, precedent does not

support the idea that Michael Cozzi can substitute his own First Amendment

activities for those of his parents, as the tickets were issued to this parents and the

trust, which had his parents as the beneficiaries. See, e.g., Norman-Nunnery v.

Madison Area Technical College, 625 F.3d 422, 433 (7th Cir. 2010); Swanson v. City

of Chetek, 719 F.3d 780, 783 (7th Cir. 2013)(holding that resident that did not have

property interest to establish standing with respect to the unequal treatment of

Swanson’s fence work because he did not have an ownership interest, even though

he resided at the property).

      3.     With respect to the Mayor, the evidence adduced during discovery has

failed to demonstrate sufficient personal involvement in the issuing of any tickets or

fines to hold him liable for either the First Amendment retaliation or Equal

Protection Class-of-One Claim. Indeed, the mayor testified in his deposition that he

wasn’t even aware of the amount of the fines until the onset of the case and the

parties engaged in initial settlement discussions. See Jones v. City of Chicago, 856

F.2d 985, 992 (7th Cir. 1988); Potts v. Moreci, 12 F. Supp.3d 1065 (N.D. Ill. 2013);

Barnes v. Broy, No. 08 C 290, 2009 WL 1702077 at *3-5 (S.D. Ill. June 16, 2009).




                                           3
  Case: 1:21-cv-00998 Document #: 114 Filed: 10/14/22 Page 4 of 6 PageID #:1123




      4.     If the underlying §1983 counts do survive, the Village believes that

there was insufficient evidence adduced during discovery to proceed under the final

policymaker or the pattern or practice standard so as to establish Monell.

      5.     The Defendants further note that a suggestion of death was filed by

the Plaintiffs with respect to Vincent Cozzi but never filed a proper motion for a

substitution of party for the estate and intend to move for summary judgment with

respect to same. See Dkt. No. 85; Fed. R. Civ. P. 25(a).

      6. In the event that the Court grants summary judgment with respect to all

federal claims, the Defendants would argue that the Court should decline to

exercise supplemental jurisdiction over the remaining state law administrative

review act claim. However, if the Court finds that some federal counts remain, the

Defendants note that an Administrative Review Act claim is a non-jury

administrative review claim determined by the judge upon the record and the briefs

of the parties. 735 ILCS 5/3-101 et seq.

      7.     Lastly, during discovery it was adduced via the evidence that several

facts alleged in the Complaint were inaccurate or otherwise had no basis such as:

(a) that the Village had remote meetings via Zoom except for administrative

hearings on citations or that the Cozzis or any representative of the Cozzis ever

requested a remote option or a continuance at any time due to COVID-19 (See Dkt.

No. 40, ¶110, 112) – There was no testimony that any of them requested a remote

hearing or continuance because of COVID-19. Instead, both Angeline and Michael

Cozzi testified as to skepticism with respect to certain CDC recommendations with



                                           4
  Case: 1:21-cv-00998 Document #: 114 Filed: 10/14/22 Page 5 of 6 PageID #:1124




respect to COVID-19 and Dr. Fauci anyway and Michael Cozzi is on subscriber lists

of many extremist groups that promote the idea that, for example, the vaccine is a

way to kill white Christians and replace them with people of color as well as a wide

variety of other conspiracy theorist groups and postings such as that Trump had the

election stolen and that they should “Stop the Steal”; (b) that Michael Cozzi had his

exchange with the Mayor during a Village Board meeting and the public comment

portion of the meeting (See Dkt. No. 40, ¶96-99, 101) – it was an Electoral Board

meeting with members of the public on the Electoral Board that includes lawyers

that specialize in election law, the Electoral Board had not commenced, and it was

definitively not during any public comment portion of any meeting of any kind; (c)

that the Cozzis were not aware of the reasons for the citations and tried to comply

(See Dkt. No. 40, ¶28, 35) – Michael Cozzi made multiple posts on social media

around the time of the citations about getting tickets for chairs outside and has

video from his phone of interacting with Code Enforcement inspectors and the

specifically telling him what needed to be done so as not to issue tickets (which was

affirmed by the deposition testimony of the inspectors as well); (d) that the Mayor or

someone otherwise associated with him sent the “death threat” text to Michael

Cozzi (See Dkt. No. 40, ¶93-95 – multiple third-party subpoenas produced no

evidence and the Mayor has a flip phone and is not tech savvy amongst other

reasons; (e) that Michael Cozzi had contacted Village Building Inspector Billy Rich

to attempt to arrange a “home visit” and otherwise determine or “stop” the citations

(See Dkt. No. 40, ¶35-37) – instead Mr. Rich was contacted for possible private work



                                          5
   Case: 1:21-cv-00998 Document #: 114 Filed: 10/14/22 Page 6 of 6 PageID #:1125




as a contractor on the Cozzi home by Michael Cozzi that had absolutely nothing to

do with the citations; (f) that no notice was received of the citations for the January

5, 2021 hearing on the first set of tickets (See Dkt. No. 40, ¶81) – instead the

Plaintiffs produced a photo Michael Cozzi took of the hearing notice and he testified

that he did not attend or tell his parents despite receiving the notice for a variety of

reasons from “not wanting to ruin their Christmas” to that the “Village always gives

continuances;” (g) that the fines would “financially cripple” the Cozzis (See Dkt. No.

40, ¶45, 140 – while a lien was placed on the Cozzis’ residence, no effort was made

or has been made to collect (nor is it the Village’s practice to do so), instead this is

all resolved at the time of sale or transfer of the property; and (h) many others.

Thus, this would further streamline any presentation of evidence in that the

Defendants believe it can establish several material facts genuinely not in dispute

pursuant to Fed. R. Civ. P. 56(g).

                                                Respectfully submitted,
                                                Defendants VILLAGE OF MELROSE
                                                PARK and Mayor RONALD SERPICO

                                                By: /s/ Cynthia S. Grandfield

K. Austin Zimmer
Cynthia S. Grandfield (ARDC No. 6277559)
DEL GALDO LAW GROUP, LLC
grandfield@dlglawgroup.com
(312) 222-7000 (t)
1441 S. Harlem Avenue
Berwyn, Illinois 60402




                                            6
